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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:20-cv-22594-MGC

   ADELAIDE DIXON, individually and behalf
   of all others similarly situated,

          Plaintiff,

   v.

   UNIVERSITY OF MIAMI,

         Defendant.
   ______________________________________/

                 NOTICE OF APPEARANCE ON BEHALF OF DEFENDANT

         NOTICE IS HEREBY GIVEN that Christopher M. Yannuzzi of the law firm of Isicoff

  Ragatz hereby enters his appearance on behalf of Defendant, University of Miami (the

  “University”), in the above-captioned case and requests that he be served with copies of all

  pleadings, orders and other papers in this case.

                                                Respectfully submitted,

                                                ISICOFF RAGATZ
                                                601 Brickell Key Drive, Suite 750
                                                Miami, Florida 33131
                                                Tel: (305) 373-3232
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                                                By: /s/ Christopher M. Yannuzzi
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

  e-mail this 23rd day of June, 2020, upon the following:

  ANASTOPOULO LAW FIRM, LLC
  Eric M. Poulin
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                                              By: /s/ Christopher M. Yannuzzi
                                                      Christopher M. Yannuzzi




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